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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                          Magistrate Judge Michael J. Watanabe

   Civil Action No. 06-cv-01265-WDM-MJW

   RELIANCE PRECAST, LLC.,

   Plaintiff(s),

   v.

   THE UNITED STATES OF AMERICA,

   Defendant(s).
                                     MINUTE ORDER


          It is hereby ORDERED that the Motion for Leave to Appear Telephonically, filed
   with the Court on September 6, 2006, DN 16, is GRANTED. Mr. Nardiello shall contact
   the court by calling (303) 844-2403, on September 7, 2006, at 8:30 a.m., (Mountain
   Time), to participate at the Scheduling Conference.

   Date: September 6, 2006
